                     Case 1:20-cv-00888-ABJ Document  27 Filed 04/02/20 Page 1 of 1 &2
                                            &/(5.=62)),&(
                                                  81,7('67$7(6',675,&7&2857                                      5HY
                                                  )257+(',675,&72)&2/80%,$

                                127,&(2)'(6,*1$7,212)5(/$7('&,9,/&$6(63(1',1*
                                     ,17+,625$1<27+(581,7('67$7(6&2857

                                                                                                   &LYLO$FWLRQ1RBBBBBBBBBB
                                                                                                    7REHVXSSOLHGE\WKH&OHUN

127,&(723$57,(6

          3XUVXDQWWR5XOH E  \RXDUHUHTXLUHGWRSUHSDUHDQGVXEPLWWKLVIRUPDWWKHWLPHRIILOLQJDQ\FLYLODFWLRQZKLFKLV
UHODWHGWRDQ\SHQGLQJFDVHVRUZKLFKLQYROYHVWKHVDPHSDUWLHVDQGUHODWHVWRWKHVDPHVXEMHFWPDWWHURIDQ\GLVPLVVHGUHODWHGFDVHV
7KLVIRUPPXVWEHSUHSDUHGLQVXIILFLHQWTXDQWLW\WRSURYLGHRQHFRS\IRUWKH&OHUN=VUHFRUGVRQHFRS\IRU WKH -XGJH WR ZKRP WKH
FDVHVLVDVVLJQHGDQGRQHFRS\IRUHDFKGHIHQGDQWVRWKDW\RXPXVWSUHSDUHFRSLHVIRUDRQHGHIHQGDQWFDVHFRSLHVIRUD WZR
GHIHQGDQWFDVHHWF

127,&(72'()(1'$17

        5XOH E  RIWKLV&RXUWUHTXLUHVWKDW\RXVHUYHXSRQWKHSODLQWLIIDQGILOHZLWK\RXUILUVWUHVSRQVLYHSOHDGLQJRUPRWLRQ
DQ\REMHFWLRQ\RXKDYHWRWKHUHODWHGFDVHGHVLJQDWLRQ

127,&(72$//&2816(/

          5XOH E  RIWKLV&RXUWUHTXLUHVWKDWDVVRRQDVDQDWWRUQH\IRUDSDUW\EHFRPHVDZDUHRIWKHH[LVWHQFHRIDUHODWHGFDVH
RUFDVHVVXFKDWWRUQH\VKDOOLPPHGLDWHO\QRWLI\LQZULWLQJWKH-XGJHVRQZKRVHFDOHQGDUVWKHFDVHVDSSHDUDQGVKDOOVHUYHVXFKQRWLFH
RQFRXQVHOIRUDOORWKHUSDUWLHV
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7KHSODLQWLIIGHIHQGDQWRUFRXQVHOPXVWFRPSOHWHWKHIROORZLQJ

,       5(/$7,216+,32)1(:&$6(723(1',1*5(/$7('&$6( 6 

         $QHZFDVHLVGHHPHGUHODWHGWRDFDVHSHQGLQJLQWKLVRUDQRWKHU86&RXUWLIWKHQHZFDVH>&KHFNDSSURSULDWHER[ H=V
         EHORZ@

                       D        UHODWHVWRFRPPRQSURSHUW\

                ✘      E        LQYROYHVFRPPRQLVVXHVRIIDFW

                       F        JURZVRXWRIWKHVDPHHYHQWRUWUDQVDFWLRQ

                       G        LQYROYHVWKHYDOLGLW\RULQIULQJHPHQWRIWKHVDPHSDWHQW

                       H        LVILOHGE\WKHVDPHSURVHOLWLJDQW

       5(/$7,216+,32)1(:&$6(72',60,66('5(/$7('&$6( (6

         $QHZFDVHLVGHHPHGUHODWHGWRDFDVHGLVPLVVHGZLWKRUZLWKRXWSUHMXGLFHLQWKLVRUDQ\RWKHU86&RXUWLIWKHQHZFDVH
         LQYROYHVWKHVDPHSDUWLHVDQGVDPHVXEMHFWPDWWHU

         &KHFNER[LIQHZFDVHLVUHODWHGWRDGLVPLVVHGFDVH

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         &2857 
          United States District Court for the District of Columbia

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          American Federation of Government Employ Y Federal Service Impasses Panel, et al.                 &$1R 19-1934
                                                /s/ Rebecca J. Osborne
          4/2/2020
         '$7(                                   6LJQDWXUHRI3ODLQWLII'HIHQGDQW RUFRXQVHO
